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 4                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 5                                        AT SEATTLE

 6    JOSEPH STANLEY PIGOTT,

 7                                    Plaintiff,             CASE NO. C19-1489-RSM

 8            v.
                                                             ORDER GRANTING APPLICATION
 9    HEATHER WINSLOW BARR, et al.,                          TO PROCEED IN FORMA PAUPERIS

10                                    Defendants.

11

12           Because plaintiff does not appear to have funds available to afford the $400.00 filing fee,

13   plaintiff financially qualifies for in forma pauperis (IFP) status pursuant to 28 U.S.C. § 1915(a)(1).

14   Therefore, plaintiff’s amended IFP application (Dkt. 8) is GRANTED. However, because this

15   matter appears subject to dismissal as frivolous and/or for failure to state a claim upon which relief

16   may be granted, the undersigned recommends review under 28 U.S.C. § 1915(e)(2)(B). The Clerk

17   of the Court is directed to send a copy of this Order to the parties and to the assigned District Judge.

18           DATED this 25th day of October, 2019.

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20                                                           A
                                                             Mary Alice Theiler
21                                                           United States Magistrate Judge

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     ORDER GRANTING IFP APPLICATION
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